Case 1:23-cr-00100-DAE Document 54-3 Filed 01/31/24 Page 1 of 6




                   EXHIBIT B
         Case 1:23-cr-00100-DAE Document 54-3 Filed 01/31/24 Page 2 of 6




From: Buie, Alan (USATXW) <Alan.Buie@usdoj.gov>
Date: Friday, Jan 26, 2024 at 7:33 PM
To: Gerry Morris <egm@egmlaw.com>
Cc: Latcovich, Simon <SLatcovich@wc.com>, Looby, Patrick <PLooby@wc.com>, Buie, Alan
(USATXW) <Alan.Buie@usdoj.gov>
Subject: RE: follow up correspondence

Jerry, thanks for your letter. I flew back into Austin last night and then spent most of today in a
meeting on another matter, or I would have provided a detailed response to your letter sooner.

Also, thanks for dropping off the 64GB USB drive today. Before I left town earlier in the week,
I had prepared a discovery production for our staff to load up while I was gone if we received
your drive (“the January 22 Production”), and that production includes some of the items listed
in your letter. So I’m attaching here a draft of the transmittal letter that I prepared for the
January 22 Production, describing what it contains. (A final, signed copy of the letter will go out
with the production.) I’m hoping it will be loaded and ready to go out Monday 29 January, but
that’s hard to predict.

Concerning the specific items in your letter: below in the left-hand column are the bullet-point
items from your letter; in the middle column in blue are my comments regarding the status of the
items; and in the right-hand column in green are any questions that I need your input on before I
can move forward with production of the items.

 Item from Morris Letter Status                                      Questions for Morris

 The Access database          This Access database is part of the None
 containing information       January 22 Production that we
 derived from bank            plan to load Monday. (FYI, 700
 statements for more than     is a very rough number of bank
 700 bank accounts            accounts that I heard from the
                              lead case agent at one point, not a
                              number that the accountants have
                              given me. You will receive an
                              inventory that lists the accounts.)

 The raw bank statements      Over the weekend or early next         None
 from the more than 700       week, I will collect all of the bank
 accounts that were used      records in preparation for
 to populate the Access       delivering them. Until I do that, I
 database                     won’t know whether they will fit
                              on the USB drive that you
                              dropped off today, or how long
                              loading them will take. So I don’t
                              yet know whether I will delay
                              delivering the January 22
                              Production until I can send the
       Case 1:23-cr-00100-DAE Document 54-3 Filed 01/31/24 Page 3 of 6




                             bank records out at the same time
                             on the same USB drive.

The documents the            Monday, or as soon thereafter as       Unless you and your
government currently has     I get your input, I will ask our lit   colleagues prefer a different
in Relativity format,        support people to place a work         approach, I will ask for
which includes               order with LTSC for production         LTSC to produce only the
somewhere between 4          of these files.                        files that they did not include
and 4.5 million                                                     in the previous production,
documents                                                           which you already
                                                                    have. The processing time
                                                                    for that effort will be less
                                                                    than if we were to include
                                                                    the files that LTSC delivered
                                                                    previously. If you prefer that
                                                                    we request a production that
                                                                    includes what LTSC already
                                                                    produced, we can ask, but
                                                                    they may resist repeating that
                                                                    effort. Please let me know
                                                                    your preference.

A copy (from the taint       I will find out Monday how much None
team) of the Western         data this device contained, and let
Digital My Passport          you know what size drive we will
UltraStorage Device,         need from you for the copy. Once
serial number WX1            I get your drive, I can send it to
1A56A2KP2, which was         San Antonio and ask them to send
the subject of the May 23,   it back to you with the files; so
2019 search warrant          you won’t need to contact anyone
                             in the Filter Team about this.

Any remaining grand jury     This is part of the January 22         None
transcripts, including the   Production that we plan to load
indictment presentation      Monday.

Documentation regarding      I spoke to the case agent about        I need to discuss this with
the FBI’s human source       this, and I can share some general     you before taking any further
                             observations, but need to discuss      steps. It won’t be a long
                             with you.                              discussion, so perhaps we
                                                                    can knock it out when Dan
                                                                    and I talk to you about
                                                                    schedule.
         Case 1:23-cr-00100-DAE Document 54-3 Filed 01/31/24 Page 4 of 6




 Any remaining 302s,           This is part of the January 22         None
 notes, or other witness       Production that we plan to load
 materials                     Monday.


I hope the foregoing is at least reasonably clear. Please don’t hesitate to call me if any of it
requires explanation. Thanks.

Alan M. Buie
512.417.2901



From: Gerry Morris <egm@egmlaw.com>
Sent: Wednesday, January 24, 2024 11:28 AM
To: Buie, Alan (USATXW) <ABuie@usa.doj.gov>
Subject: [EXTERNAL] follow up correspondence

Alan:

Attached is correspondence following up on our call last week. Do you have time for a call this
afternoon or tomorrow?

EGM
         Case 1:23-cr-00100-DAE Document 54-3 Filed 01/31/24 Page 5 of 6



                                                        United States Department of Justice
                                                        United States Attorney’s Office
                                                        Western District of Texas

ALAN M. BUIE                                 903 San Jacinto Blvd., Suite 334   Phone: (512) 370-1242
ASSISTANT UNITED STATES ATTORNEY             Austin, Texas 78701                alan.buie@usdoj.gov




                                         January 30, 2024

 Gerry Morris, Esquire
 The Law Office of E.G. Morris
 505 West 12th Street, Suite 206
 Austin, Texas 78701

        Re:     Discovery Production 5 in United States v. Natin Paul, No. A-23-CR-100-DAE

Dear Mr. Morris:

        Our staff have loaded onto your device the following additional discovery:

    1. FBI email messages dated 2014 through June 8, 2023. I reviewed a large collection of
       email messages from FBI, and I have attempted to provide you with copies of any
       messages that contain commentary on the facts or evidence. Text redacted from the
       messages is chiefly (a) related only to the Public Integrity Section investigation; or
       (b) work product of the government’s attorneys.

    2. Files from the Texas State Securities Board (“TSSB”). One of our investigators was
       employed by TSSB and had a small file at his TSSB office, separate from the FBI file.

    3. Investor questionnaire responses. In 2020, FBI sent a questionnaire to a list of known
       World Class investors, and a folder is included here for each one that responded. Some did
       not complete the questionnaire and only sent records or email messages.

    4. AUSA interview binders (two folders). One folder contains documents that I collected for
       interviews related to World Class Holding Company, LLC’s Series A Preferred offering,
       which is not the subject of any of the pending charges. The other folder contains
       documents I collected that are pertinent to limited partnership investments.

    5. Grand Jury presentations (two folders). These folders include transcripts, exhibits, and
       slide decks from the presentation of the indictment and the superseding indictment.

    6. Arrest audio and video. The FBI Special Agents who arrested the defendant on June 8,
       2023 wore audio and/or video recording equipment.

    7. Harwood interview. This is the most recent interview of accountant Elizabeth Harwood.

    8. FBI EC and Interview Notes. This folder collects agent interview notes that may not have
       been included in earlier discovery.
          Case 1:23-cr-00100-DAE Document 54-3 Filed 01/31/24 Page 6 of 6




Gerry Morris, Esquire
January 30, 2024
Page 2 of 2


      9. Materials from FBI Forensic Accountants (two folders). The Access database of bank
         records is in the Susan Ball folder.

        If you have any questions, please call me at 512.417.2901. If you or your co-counsel
would like a more thorough description of the materials listed above, I suggest we schedule a time
to look at the material together and discuss it, either in person or via WebEx.

                                                    Sincerely,




                                                    Alan M. Buie
                                                    Assistant United States Attorney

cc:      Simon Latcovich, Esquire (slatcovich@wc.com)
         Patrick Looby, Esquire (plooby@wc.com)
